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                              IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                    CASE NO. 1:13-cv-23285-WJZ

  AUTOMOTORES GALINDO, S.A.,

                 Plaintiff,

  v.

  FORD MOTOR COMPANY,

                 Defendant.
                                        /

           DEFENDANT’S NOTICE OF FILING CERTIFIED TRANSLATIONS
         OF EXHIBITS IN SUPPORT OF OBJECTIONS TO RECOGNITION AND
         ENFORCEABILITY OF AN OUT-OF-COUNTRY FOREIGN JUDGMENT

         Defendant, FORD MOTOR COMPANY (“Ford”), by its undersigned counsel, gives
  notice of filing the certified English translations of the Spanish exhibits filed in support of its
  Notice of Objection to Recognition and Enforceability of an Out-of-Country Foreign Judgment
  (“Objection”) filed on September 13, 2013 [DE 5] and Ford’s Memorandum of Law in Support
  of its Objection (“Memorandum”) also filed on September 13, 2013 [DE 6]. Ford filed the
  Spanish exhibits as attachments to its Memorandum but referenced them as attachments to the
  Declaration of Ramiro Guevara filed as Exhibit 1 to the Objection [DE 6-1]. To clarify the
  record, Ford is re-filing the Declaration of Ramiro Guevara as Exhibit 1 to this Notice with the
  original Exhibits A through J attached thereto. Exhibits B and C are already in English. The
  certified English translations of Exhibits A and D through J are attached to the Declaration of
  Oleg Rivkin filed as Exhibit 2 to this Notice.
         Dated: November 7, 2013
                                                    Respectfully submitted,

                                                    s/ Gary M. Pappas
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                                                    GARY M. PAPPAS
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                                                     Counsel for Defendant Ford Motor Co.

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 7, 2013, I electronically filed the foregoing
  Notice of Filing Certified Translations with the Clerk of the Court using CM/ECF. I also certify
  that the foregoing document is being served this day on all counsel of record on the attached
  Service List.
                                                       s/ Gary M. Pappas
                                                       GARY M. PAPPAS

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